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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 VICTIM RIGHTS LAW CENTER, et al.,
                                             Plaintiffs,
 v.
                                                           Civil Action No. 1:20-cv-11104-WGY
 MIGUEL CARDONA, in his official capacity as
 Secretary of Education, et al.,
                                           Defendants,
 FOUNDATION FOR INDIVIDUAL
 RIGHTS IN EDUCATION, INDEPENDENT
 WOMEN’S LAW CENTER, SPEECH FIRST,
 INC.,
               [Proposed] Intervenor-Defendants.

                              [PROTECTIVE] NOTICE OF APPEAL
        Proposed Intervenor-Defendants—the Foundation for Individual Rights in Education, the

Independent Women’s Law Center, and Speech First—hereby appeal to the United States Court of

Appeals for the First Circuit from the judgment this Court entered on July 28, 2021 (Doc. 183), as

well as the order this Court entered on August 10, 2021 (Doc. 186). Proposed Intervenor-Defendants’

motion to intervene was denied by this Court July 27, 2020 (Doc. 35), but the intervention motion is

the subject of a pending petition for a writ of certiorari. See Foundation for Individual Rights in Education

v. Victim Rights Law Ctr., No. 21-84 (U.S.). If Proposed Intervenor-Defendants are ultimately permitted

to intervene, this notice of appeal will “become effective.” Mausolf v. Babbitt, 125 F.3d 661, 666 (8th

Cir. 1997) (quoting 15A Wright & Miller, Fed. Prac. & Procedure §3902.1, at 113 (2d ed. 1991)); see

also Perry v. Schwarzenegger, 630 F.3d 898, 902–03 (9th Cir. 2011) (explaining that it is proper for “a

putative intervenor [who] wishes to press an appeal on the merits” to file “a notice of appeal from the

order denying their motion to intervene, and a protective notice of appeal from the district court’s

order on the merits”); In re Synthroid Mktg. Litig., 264 F.3d 712, 716 (7th Cir. 2001) (noting that, “when

a substantive appeal is contingent on the success of the intervention appeal, [proposed intervenors]



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should file two notices of appeal: one from the denial of intervention and a second springing or

contingent appeal from the final judgment—which will kick in if they are successful on the first.”).



 Dated: September 27, 2021                              Respectfully submitted,

                                                         /s/ Patrick Strawbridge
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                                                        Counsel for Proposed Intervenor-Defendants




                                    CERTIFICATE OF SERVICE
          I e-filed this notice of appeal with the Court via ECF, which will notify everyone requiring

notice.

          Dated: September 27, 2021                         /s/ Patrick Strawbridge




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